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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                       Plaintiff,   )    Case No. CR10-71-JCC
                                                      )
10          v.                                        )    DETENTION ORDER
                                                      )
11 TEODORO CONTRERRAS,                                )
                                                      )
12                                    Defendant.      )

13 Offense charged:

14       Conspiracy to Distribute Heroin.

15 Date of Detention Hearing: March 23, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       Defendant stipulated to detention. Additionally, the Court did not receive any information

23 regarding defendant’s ties to the community, employment, financial status, health and drug or



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 1 alcohol use. Defendant is also a citizen of Mexico.

 2       It is therefore ORDERED:

 3       (1)        Defendant shall be detained pending trial and committed to the custody of the

 4 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 5 from persons awaiting or serving sentences, or being held in custody pending appeal;

 6       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

 7 counsel;

 8       (3)        On order of a court of the United States or on request of an attorney for the

 9 Government, the person in charge of the correctional facility in which Defendant is confined

10 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

11 connection with a court proceeding; and

12       (4)        The clerk shall direct copies of this order to counsel for the United States, to

13 counsel for the defendant, to the United States Marshall, and to the United States Pretrial

14 Services Officer.

15       DATED this 22nd day of March, 2010.

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18                                                         A
                                                           BRIAN A. TSUCHIDA
19                                                         United States Magistrate Judge

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     DETENTION ORDER - 2
